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AT ROANQKE. va` COURT
FMED
MAR 30 2005
UNITED STATES DISTRICT cOURT §$!“* - c N, cLEaK
FoR THE wEsTERN DISTRICT oF vIRGINIA ` DE' " L€'£?W\
KQAWD\.€. '

.&q§shhasg'Division
Civil Action No.

7/€15}¢10@@/ 755

WILLIAM WALLIS, )
)

Plaintiff, )

)

v. )
)

EASTERN MANUFACTURING CORPORATION, )
)

BOSS MANAGEMENT GROUP, INC., )
)

FABRIKO, INC., )
)

PACIFIC ATLANTIC HOLDINGS LIMITED, )
)

and )
)

ROBERT NITTI, )
)
Defendants. )

COMPLAINT

 

COMES NOW the plaintiff, by counsel, who hereby moves this
Court to enter a declaratory judgment to determine that the
plaintiff is the owners of the defendant corporate entities Boss
Management Group, Inc., Fabriko, Inc., and Pacific Atlantic
Holdings Limited, as described herein.

SUBJECT MATTER JURISDICTION

1. This Court has jurisdiction to enter a declaratory

judgment pursuant to 28 U.S.C. § 2201.
PERSONAL JURISDICTION

2. This Court has personal jurisdiction over this matter

because the defendants are Virginia corporations with registered

offices in Roanoke, Virginia.

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STATEMENT OF FACTS

3. Defendant Eastern Manufacturing Corporation is a
Virginia corporation, registered with the Virginia State
Corporation Commission.

4. Defendant Boss Management Group, Inc. is a Virginia
corporation, registered with the Virginia State Corporation
Commission.

5. Defendant Fabriko, Inc. is a Virginia corporation,
registered with the Virginia State Corporation Commission.

6. Defendant Pacific Atlantic Holdings Limited is a
Virginia corporation registered with the Virginia State
Corporation Commission.

7. The plaintiff William Wallis is the incorporator and

the owner of all of the stock of Boss Management Group, Inc ,

 

Fabriko, Inc., and Pacific Atlantic Holdings Limited,

8. Robert Nitti is the incorporator and the owner of all
of the stock of Eastern Manufacturing Corporation and claims an
ownership interest Boss Management Group, Inc., Fabriko, Inc.,
and Pacific Atlantic Holdings Limited,

CLAIM FOR RELIEF
(DECLARATORY JUDGMENIL

9. The allegations of paragraph 1-8 are adopted herein.

10. The plaintiff, William Wallis, is entitled to a
declaratory judgment that (l) he is the incorporator and the
owner of all of the stock of Boss Management Group, Inc.,
Fabriko, Inc., and Pacific Atlantic Holdings Limited, and that

(2) Robert Nitti is the incorporator and owner of all of the

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stock of Eastern Manufacturing Corporation.

WHEREFORE the plaintiff prays that this Court will enter an
order declaring that William Wallis is the incorporator and the
owner of all of the stock of Boss Management Group, Inc.,
Fabriko, Inc., and Pacific Atlantic Holdings Limited, and that
(2) Robert Nitti is the incorporator and owner of all of the
stock of Eastern Manufacturing Corporation.

Respectfully Submitted,

wILLIAM_ _wALLIs ,,/

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